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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 7
                                                                        Case No: 14-75543 (AST)
STEVEN J. HOROWITZ,

                                       Debtor.
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                             ORDER AUTHORIZING THE EMPLOYMENT OF
                           JEFFREY RAY LLC AS BROKER FOR THE ESTATE
          Upon the application dated February 23, 2017 (the "Application") of Kenneth P.

Silverman, Esq., the chapter 7 trustee (the "Trustee") of the estate of Steven J. Horowitz (the

“Debtor”), by his attorneys, SilvermanAcampora LLP, seeking the entry of an Order in

accordance with 11 U.S.C. § 327(a) and Rule 2014 of the Federal Rules of Bankruptcy

Procedure, authorizing the Trustee to employ Jeffrey Ray LLC ("JRLLC") as his real estate

broker for the estate to market and sell the Debtor’s interest in a condominium known as and

located at 2660 South Ocean Boulevard, Apartment 301-W Cabana Unit-6, Palm Beach, FL

33480 (the “Condo”); and there being no opposition thereto; and after due deliberation and

consideration having been had; and it appearing that sufficient notice of the Application has

been given, and it appearing that good and sufficient cause exists for granting the Application;

and it being in the best interests of the estate and the Debtor’s creditors; it is hereby

          ORDERED, that the Application is, granted to the extent provided for herein; and it is

further

          ORDERED, that JRLLC be, and hereby is, employed as the Trustee’s real estate broker

for the purpose of marketing and selling the Condo; and it is further

          ORDERED, that JRLLC shall be compensated for brokering and exclusively procuring a

purchaser for the Condo, in the amount of four percent (4%) of the gross sale price, including

expenses; and it is further

          ORDERED, that in the event that the purchaser of the Condo is procured through the

services of a co-broker, the aggregate commissions will then be in the amount of six percent
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(6%) of the gross sale price, including expenses, and will be divided between JRLLC and any

such co-broker equally at three percent (3%) each; and it is further

       ORDERED, that JRLLC and/or any co-broker, if any, shall seek payment of

commissions and expenses, upon application filed with the Court in accordance with Local

Bankruptcy Rule 6005-1(f) and the Bankruptcy Code; and it is further

       ORDERED, that the Trustee be, and hereby is, authorized to do such things, execute

such documents and expend such funds as may be necessary to effectuate the terms and

conditions of this Order.

Dated: New York, New York
       March 2, 2017


NO OBJECTION:

s/ Alfred M. Dimino
Office of the United States Trustee




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 Dated: March 20, 2017                                                 Alan S. Trust
        Central Islip, New York                               United States Bankruptcy Judge

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